          Case 1:18-cr-00367-CCC Document 102 Filed 07/27/21 Page 1 of 1



                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                   :   CRIMINAL NO. 1:18-CR-367
                                           :
              v.                           :   (Judge Conner)1
                                           :
MATTHEW LYNN HUGHES, JR.,                  :
                                           :
                    Defendant              :

                                      ORDER

      AND NOW, this 27th day of July, 2021, upon consideration of the

government’s motion (Doc. 96) to compel defendant to submit to photographic

examination and supporting brief (Doc. 97) filed May 25, 2021, and the court noting

that the defendant has not filed a responsive brief to date, it is hereby ORDERED

that the defendant shall file a response to the government’s motion no later than

Tuesday, August 10, 2021.



                                       /S/ CHRISTOPHER C. CONNER
                                       Christopher C. Conner
                                       United States District Judge
                                       Middle District of Pennsylvania




      1
        The above-captioned action was reassigned to this judicial officer by
verbal order of July 26, 2021, in light of the impending retirement of Chief Judge
John E. Jones III.
